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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Janay E Garrick
                                      Plaintiff,
v.                                                        Case No.: 1:18−cv−00573
                                                          Honorable John Z. Lee
Moody Bible Institute, et al.
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, October 28, 2020:


      MINUTE entry before the Honorable John Z. Lee:Plaintiff's response to
Defendant's motion to reconsider [128] is due by 11/25/20; Defendant's reply by 12/11/20.
No appearance is required on the motion. Mailed notice(ca, )




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